Case 8:22-cv-01076-ADS Document 1-2 Filed 05/31/22 Page 1 of 18 Page ID #:13
                 Electronically Filed by Superior Court of California, County of Orange, 04/18/2022 04:02:04 PM.
 30-2022-01255258-CU-WT-CJC - ROA # 4- DAVID H. YAMASAKI, Clerk of the Court By Katie Trent, Deputy Clerk.




                                              SUMMONS                                                                 I           FOR COURT USE ONLY
                                                                                                                              (SOLO PARA USO DELA CORTE)
                                      (CITACION JUDlCIAL)                         r

     NOTICE TO DEFENDANT:
     (AV/SO AL DEMA)VDADO):
      B. BRAUN MEDICAL INC., a Pennsylvania corporation; and DOES 1-50, inclusive,


     YOU ARE BEING SUED BY PLAINTIFF:
     (LO ESTA DEMANDANDO EL DEMANDANTE):
      BANAFSHEH SOLEIMANI, an individual,

                                                                    you wltnout your bemg neard umess you

        Yau have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
     served on ihe plaintiff. A lefler or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
     case: There may be a court form that you can use for your response. You can find these court forms and more information at the Califomia Courts
     Online Self-Help Center (www.courtinfo.ca.gov/selfhelp), your county faw library, or the courthouse nearest you. If you cannot pay the filing fee, ask the
     court clerk for a fee waiver form. tf you do not file your response on time, you may lose the case by default, and your wages, money, and property may
     be taken without furtherwarning from the court.
        There are other legal requirements. You may want to call an attomey dght away. If you do not know an attomey, you may want to call an attomey
     referral service. If you cannot afford an attomey, you may be eligible for free legai services from a nonprofit legal services program. You can locate
     these nonprofit groups at the Califomia Legal Services Web site (www.lawheipcafi(omfa.org), the California Courts Online Self-Help Center
     (wwxccourtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
     costs on any settlement or arbitration award of $10,000 or more in a civil case. The courfs lien must be paid before lhe court will dismiss the case.
     IAV1S0! Lo han demandado. Si no responde dentro de 30 dtas, la corte puede decidir en su contra sin escuchar su versi6n. Lea la informaci6n a
     continuaci6n.
        Tiene 30 DIAS DE CALENDARIO despuEs de que le entreguen esta citaci6n y papeles legales para presentar una respuesta por escrito en esta
     corte yhacerque se entregue una copia al demandante. Una carta o una I!amada telef6nica no lo protegen. Su respuesta porescrito tiene que estar
     en formato legal corn:cto si desea que procesen su caso en la corte. Es posible que haya un fomfulario que usfed pueda usar para su respuesta.
     Puede encontrarestos formularros de la corte ym6s Informaci6n en el Centro de Ayuda de las Cortes de Califomfa (www.sucorte.ca.gov), en la
     blblioteca de leyes de su condado o en la corte que le quede m3s cerca. Si no puede pagar la cuota de presentaci6n, pida al secretario de la corte que
     le d6 un formularfo de exencidn de pago de cuotas. Sf no presenta su respuesta a tiempo, puede penier el caso por incumplimiento y la corte le podr<i
     quitarsu sueldo, dinero y bienes sin m8s advertencia.
        Hay otros requisitos /ega/es. Es recomendable que !lame a un abogado inmediatamente. Si no conoce a un abogado, puede llamar a un servicio de
     remisi6n a abogados. Sino puede pagar a un abogado, es posible que cumpla con los requisitas para obtener servicios legales gratuitos de un
     orograma de servicios legales sin fines de lucro. Puede encontrar estos grupos sin fines de luaro en e1 sftio web de California Legal Services,
     (www.lawhelpcafifomia.org), en el Centro de Ayuda de las Cortes de Califomia, (www.sucorfe.ca.gov) o ponirsndose en contacto con la corte o el
     co/egio de abogados locales. AVISO: Porfey, la corte tiene derecho a reclamarlas cuotas y los costos exenlos porimponerun gravamen sobre
     cualquferrecuperacibn de $10,000 6 mSs de valorrecfbida mediante un acuerdo o una concesi6n de arbitraie en un caso de derecho citdf. Tiene que
     Dagar el gravamen de la corte antes de que fa corte pueda desechar el caso.
    The name and address of the court is: Superior Court of the State of California                         CASE NUMBER: (Ntimero de! Caso)..
    (EI nombre y direcci6n de ta corte es):
    For the County of Orange-Central Justice Center
                                                                                                             30-202Z-0125525$-CUAYT-CjC
    700 CIVIC CENTER DRIVE WEST, SANTAANA, CA 92701                                                          judge James erandall
    The name, address, and telephone number of piaintiffs aftorney, or plaintiff without an aftorney, is: (EI nombre, la direccion y el numero
    de telefono del abogado del demandante, o del demandante que no tiene abogado, es):
    Brock & Gonzales LLP, 6701 Center Drive West, Ste. 610, Los Angeles, CA 90045, (310) 294-9595

    DATE:        O,d1~1$>`20^c2 pqVtD H. YAtAASAKI, Clerk ofthe Court                                                                                   Deputy
                                                                                            Clerk, by
    (Fecha)                                                                                 (Secretario)                           ~                  (Adjunto)
    (For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
    (Para prueba de antraga de esta citatidn use ef formularfo Proof of Service of Summons, (POS-010)).                                ((atie Tre nt
                                          NOTICE TO THE PERSON SERVED: You are served
                                          1. 0       as an individual defendant.
                                         2.          as the person sued urider the fictitious name of (specify):
                                                                               B. BRAUN MEDICAL, INC, A PENNYSYLVANIA CORPORATION
                                         3.   ~      on behalf of (specify):
                                               under: ®     CCP 416.10 (corporation)                                  CCP 416.60 (minor)
                                                      ~     CCP 416.20 (defunct corporation)                          CCP 416.70 (conservatee)
                                                      0     CCP 416.40 (association or partnership)                   CCP 416.90 (authorized person)
                                                      ~     other (specify):
                                         4.   =      by personal delivery on (date):
                                                                                                                                                         Paao 1 0l i
    Form Adopted for Mertdatory Use
                                                                          SUMMONS                                                code ofclal Proaedure §§ 41z 20,485
    JudiUal Coundt of CaHfornia                                                                                                                    vnnv.courfscagov
    SUM-100 IRev. July 1, 20091
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                     ally Filed by Superior Court of California, County of Orange, 04/18/2022 04:02:04 PM.
30-2022-012,         U-WT-CJC - ROA # 2- DAVID H. YAMASAKI, Clerk of the Court By Katie Trent, Deputy Clerk.




     ,   1     BROCK & GONZALES, LLP
                    6701 CENTER DRIVE WEST, STE. 610       ~
                         LOS ANGELES, CA 90045
         2
                             Tel: (310) 294-9595
                             Fax: (310) 961-3673
         3
               D. AARON BROCK, STATE BAR N0. 241919
         4
               Attorneys for Plaintiff
          5    Banafsheh Soleimani

         6
         7
         8                          SUPERIOR COURT OF THE STATE OF CALIFORNIA
          9
                             FOR THE COUNTY OF ORANGE — CENTRAL, JUSTICE CENTER
         10
         11    BANAFSHEH SOLEIMANI, an                          Case No.:    30-2422-0125S258-CU-WT-CjC

         12    individual,
                                                                PLAINTIFF'S COMPLAINT FOR
         13                      Plaintiff,                     DAMAGES FOR:

         14            vs.                                          1. DISABILITY DISCRIMINATION IN
                                                                       VIOLATION OF THE FEHA;
         15
               B. BRAUN MEDICAL INC., a
         16    Pennsylvania corporation; and DOES 1-                2. FAILURE TO ACCOMMODATE IN
               50, inclusive,                                          VIOLATION OF THE FEHA;
         17
                                  Defendants.                       3. FAILURE TO ENGAGE IN AN
         18                                                            INTERACTIVE PROCESS IN
         19                                                            VIOLATION OF THE FEHA;

         20                                                         4. RETALIATION IN VIOLATION OF
                                                                       THE FEHA;
         21
         22                                                         5. FAILURE TO PREVENT IN
                                                                       VIOLATION OF THE FEHA; and
         23
                                                                    6. WRONGFUL TERMINATION IN
         24                                                            VIOLATION OF PUBLIC POLICY.

         25                                                     DEMAND FOR JURY TRIAL
         26                                                            Assigned for AII Purposes
         27                                                            Judge James Crandall

         28

                                                       COMPLAINT FOR DAMAGES
    Case 8:22-cv-01076-ADS Document 1-2 Filed 05/31/22 Page 3 of 18 Page ID #:15




,   '            1          Plaintiff, BANAFSHEH SOLEIMANI, hereby brings her employment complaint,
                 2   demanding a trial by jury, against the above-named Defendants and states and alleges as follows:
                 3                                             THE PARTIES
                 4         1.      At all times mentioned herein, and at the time each of Plaintiffls causes of action
                 5   arose, Plaintiff, BANAFSHEH SOLEIMANI, was an individual and a resident of the State of

                 6   California.

                 7         2.      Plaintiff is informed and believes, and based thereon alleges, that Defendant B.
                 8   BRAUN MEDICAL INC. was a Pennsylvania corporation doing business in the County of

                 a   Orange, State of California, at 2525 McGaw Avenue, Irvine, California 92614. At the time the

                     causes of action arose, Defendants B. BRAUN MEDICAL INC. and/or DOES 1-50 were

                11   Plaintiff's employer(s).
        ~ W     12         3.      Plaintiff is unaware of the true names and capacities of Defendants sued herein as
        ~   J
        ~<      13   DOES 1 through 50, inclusive, and for that reason sues said Defendants by such fictitious names.
          fV
        0 z     14   Each of the Defendants designated herein as a DOE is negligently, intentionally, or otherwise
        ryo
        cp (D   15   legally responsible in some manner for the events and happenings herein referred to and caused
                16   injuries and damages proximately thereby to the Plaintiff, as herein alleged. Plaintiff will file and
        ~       17   serve one or more amendments to this complaint upon learning the true names and capacities of
                18   said Defendants.
                19         4.      Plaintiff is informed and believes that each of the fictitiously named Defendants is

                20   responsible in some manner for, and proximately caused, the injuries and damages to Plaintiff

                21   hereinafter alleged.
                22         5.      Plaintiff is informed and believes, and based thereon alleges, that each of the

                23   Defendants named herein acted as the employee, agent, servant, partner, alter-ego and/or joint
                24   venturer of one or more of the other Defendants named herein. In doing the acts and/or
                25   omissions alleged herein, each of said Defendants acted within the course and scope of his or her
                26   relationship with any other Defendant; and gave and received full consent, permission and
                27   ratification to the acts and/or omissions alleged herein.
                28         6.      Hereinafter in this Complaint, unless otherwise noted, reference to a Defendant shall
                                                                       2
                                                         COMPLAINT FOR DAMAGES
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              r
~                  1   mean all Defendants, and each of them. `
                   2                                  THE FACTUAL ALLEGATIONS
                   3         7.     Plaintiff worked for Defendant from on or about June 27, 2017, until Defendant
                   4   wrongfiilly terminated Plaintiff's employment on or about November 2, 2021.
                   5         8.     Throughout Plaintiff's employment, she was a good employee.

                   6         9.     Plaintiff worked for Defendant in the position of Material Handler.

                   7         10.    In or around November 5, 2020, Plaintiff needed leave from work to undergo and
                   8   recover from surgery related to her disability, a hernia.

                   9         11.    Plaintiff was released to return to work in or around February 2021 with restriction;

                  10   on the amount of weight she could lift. In response, Defendant informed Plaintiff that she could

                  11   not return to work as a Material Handler due'to her restrictions. Instead, Plaintiff was provided

    cZ~ W         12   with several light duty assignments.
    ~ J
    U Q           13         12.    While working these light duty assignments, Plaintiff applied to several open
         tV
    0z            14   positions for which she was qualified. Defendant, however, failed to accommodate Plaintiff by
    =O
    cp (D         15   not reassigning or transferring Plaintiff to a vacant position, 2) not affirmatively seeking out
                  16   vacant positions for which Plaintiff was qualified to perform, and/or 3) not giving Plaintiff
     ~            17   preferential consideration for the vacant positions Plaintiff applied to.

                  18         13. On or about November 2, 2021, Defendants terminated Plaintiff's employment,
                  19   claiming it could no longer accommodate her.

                  20         14. Plaintiff is informed and believes, and based thereon alleges, that Defendants failed

                  21   to accommodate Plaintiff's disability and terminated Plaintiffls employment on account of her
                  22   disability and/or in retaliation for her need for accommodation.
                  23                       EXHAUSTION OF ADMINISTRATIVE REMEDIES
                  24         15.   On April 18, 2022, Plaintiff filed a complaint against Defendants with the Californi
                  25   Department of Fair Employment and Housing. Plaintiff received a"Right-to-Sue" letter from
                  26   said department that same day. This Complaint is timely filed pursuant to that letter.
                  27

                  28
                                                                         3
                                                          COMPLAINT FOR DAi~
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        r
             1                                      FIRST CAUSE OF ACTION
             2                DISABILITY DISCRIMINATION IN VIOLATION OF THE FEHA
             3                                       (Against ALL Defendants)
             4          16. Plaintiff restates and incorporates by this reference as if fully set forth herein
             5   paragraphs 1 through 15 of this Complaint.

             6          17. At all times herein mentioned, the FEHA was in full force and effect and was

             7   binding on Defendants, as Defendants regularly employed five or more persons.

             8          18. The FEHA requires Defendants to refrain from discriminating against any employee

            9    on the basis of perceived and/or actual disability.

            10          19. Defendants engaged in unlawful employment practices in violation of the FEHA.
            11         20.    As a proximate result of the aforesaid acts of Defendants, Plaintiff has suffered
~ w         12   actual, consequential, and incidental financial losses, including without limitation, loss of salary
U Q         13   and benefits, and the intangible loss of employment related opportunities in her field and damage
  IV
0 z         14   to her professional reputation, all in an amount subject to proof at the time of trial. Plaintiff
=O
cp (D       15   claims such amounts as damages pursuant to California Civil Code § 3287 and/or § 3288 and/or

            16   any other provision of law providing for prejudgment interest.
 ~          17          21.   As a proximate result of the wrongful acts of Defendants, Plaintiff has suffered and
            18   continues to suffer emotional distress, humiliation, mental anguish and embarrassment, as well

            19   as the manifestation of physical symptoms. Plaintiff is informed and believes, and thereupon

            20   alleges, that she will continue to experience said physical and emotional suffering for a period in

            21   the future not presently ascertainable, all in an amount subject to proof at the time of trial.
            22          22.   As a proximate result of the wrongful acts of Defendants, Plaintiff has been forced
            23   to hire attorneys to prosecute her claims herein and has incurred and is expected to continue to
            24   incur attorneys' fees and costs in connection therewith. Plaintiff is entitled to recover attorneys'

            25   fees and costs under California Government Code § 12965(b).
            26         23.    The actions taken against Plaintiff were carried out and ratified by officers and
            27   managers of Defendant. In addition, Defendant had in place policies and procedures that
            28   specifically prohibited discrimination based on a disability and required Defendant's managers,
                                                                 4
                                                     COMPLAINT FOR DAMAGES
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                officers, and agents to prevent diSability tiiscrimination. However, Defendants chose to
           2    consciously and willfully ignore said policies and procedures and therefore, their outrageous
           3    conduct was fraudulent, malicious, oppressive, and was done in wanton disregard for the rights
           4    of Plaintiff and the rights and duties owed by each Defendant to Plaintiff. Each Defendant aided,
           5    abetted, participated in, authorized, ratified, and/or conspired to engage in the wrongful conduct
           6    alleged above. Plaintiff should, therefore, be awarded exemplary and punitive damages against
           7    each Defendant in an amount to be established that is appropriate to punish each Defendant and
           8    I deter others from engaging in such conduct in the future.

           9                                      SECOND CAUSE OF ACTION
          10.                 FAILURE TO ACCOMMODATE IN VIOLATION OF THE FEHA
          11                                         (Against ALL Defendants)
    `n
C~6 LLJ   12           24.    Plaintiff restates and incorporates by this reference as if fully set forth herein
~    J
UN        13    paragraphs 1 through 23 of this Complaint.
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cy—0
          14           25.    At all times herein mentioned, the FEHA was in full force and effect and was

m ()      15    binding on Defendants, as Defendants regularly employed five or more persons. The FEHA

          16    imposes upon employers certain affirmative duties when confronted with an employee who has a
 ~        17    disability.

          18           26.    Defendants failed to fulfill their affirmative duty to reasonably accommodate
          19    Plaintiff. Defendants' actions were in direct contravention of the FEHA.
          20           27.    Plaintiff alleges that with reasonable accommodations he could have fully perfonnei
          21    all duties and functions of his job in an adequate, satisfactory and/or outstanding manner.
          22           28.    As a direct and legal result of Defendants' discriminatory actions herein referenced,
          23    Plaintiff has suffered and continues to suffer general and special damages including but not
          24    limited to substantial losses in earnings, other employment benefits, physical injuries, physical
          25    sickness, as well as emotional distress, all to her damage in an amount according to proof.
          26           29.    As a proximate result of the wrongful acts of Defendants, and each of them, Plaintif
          27    has been forced to hire attorneys to prosecute her claims herein and has incurred and is expected
          28    to continue to incur attorneys' fees and costs in connection therewith. Plaintiff is entitled to
                                                                   5
                                                     COMPLAINT FOR DAMAGES
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        1   recover attorneys' fees and costs'under California Government Code § 12965(b).
        2             30.   The actions taken against Plaintiff were carried out and ratified by officers and
        3   managers of Defendant. In addition, Defendant had in place policies and procedures to
        4   accommodate the disability of its employees. However, Defendants chose to consciously and
        5   willfully ignore said policies and procedures and therefore, their outrageous conduct was

        6   fraudulent, malicious, oppressive, and was done in wanton disregard for the rights of Plaintiff

        7   and the rights and duties owed by each Defendant to Plaintiff. Each Defendant aided, abetted,
        8   participated in, authorized, ratified, and/or conspired to engage in the wrongful conduct alleged

        9   above. Plaintiff should, therefore, be awarded exemplary and punitive damages against each

       10   Defendant in an amount to be established that is appropriate to punish each Defendant and deter

       11   others from engaging in such conduct in the future.

       12                                        THIRD CAUSE OF ACTION
       13     FAILURE TO ENGAGE IN AN INTERACTIVE PROCESS IN VIOLATION OF THE

       14                                                     FEHA
       15                                          (Against ALL Defendants)

       16             31.   Plaintiff restates and incorporates by this reference as if fully set forth herein
       17   paragraphs 1 through 30 of this Complaint.

       18             32.   The FEHA makes it unlawful for an employer to fail to engage in a timely, good

       19   faith, interactive process with the employee to determine effective reasonable accommodations,

       20   if any.

       21             33.   Defendants failed to engage in a timely, good faith, interactive process with Plaintiff
       22   to accommodate her known disabilities in violation of the FEHA. .
       23             34.   As a proximate result of the wrongful conduct of Defendants, and each of them,

       24   Plaintiff has suffered and continues to sustain substantial losses in earnings and other

       25   employment benefits in an amount according to proof at the time of trial.

       26             35.   As a direct and legal result of Defendants' discriminatory actions herein referenced,
       27   Plaintiff has suffered and continues to suffer general and special damages including but not
       28   limited to substantial losses in earnings, other employment benefits and emotional distress, all to
                                                                 6
                                                                 FOR
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'            1   her damage in an amount according to pPoof.
             2         36.     As a proximate result of the wrongful acts of Defendants, and each of them, Plaintiff
             3   has been forced to hire attorneys to prosecute her claims herein and has incurred and is expected
             4   to continue to incur attorneys' fees and costs in connection therewith. Plaintiff is entitled to
             5   recover attorneys' fees and costs under California Government Code §12965(b).
             6         37.     The actions taken against Plaintiff were carried out and ratified by officers and

             7   managers of Defendants. In addition, Defendants had in place policies and procedures that
             8   specifically required it to engage in the interactive process to accommodate the disabilities of its

             9   employees. However, Defendants chose to consciously and willfully ignore said policies and

            10   procedures and therefore, their outrageous conduct was fraudulent, malicious, oppressive, and

            11   was done in wanton disregard for the rights of Plaintiff and the rights and duties owed by each

    CZ5 W   12   Defendant to Plaintiff. Each Defendant aided, abetted, participated in, authorized, ratified, and/or
    ~ J
    U Q     13   conspired to engage in the wrongful conduct alleged above. Plaintiff should, therefore, be
  N
0 z         14   awarded exemplary and punitive damages against each Defendant in an amount to be established
=O
cp (D       15   that is appropriate to punish each Defendant and deter others from engaging in such conduct in
      r     16   the future.
       )    17                                     FOURTH CAUSE OF ACTION
            18                          RETALIATION IN VIOLATION OF THE FEHA

            19                                        (Against ALL Defendants)

            20         38.     Plaintiff restates and incorporates by this reference as if fully set forth herein

            21   paragraphs 1 through 37 of this Complaint.
            22          39.    At all times herein mentioned, the FEHA was in full force and effect and were

            23   binding on Defendants, as Defendant regularly employed five or more persons. The FEHA

            24 , makes it unlawful for any person to retaliate against an employee who has requested reasonable

            25   accommodation.

            26          40.    Defendants' conduct as alleged above constituted unlawful retaliation in violation of
            27   the FEHA.
            28          41.    As a proximate result of the aforesaid acts of Defendants, Plaintiff has suffered
                                                                   7
                                                      COMPLAINT FOR DAMAGES
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             I I actual, consequential, and incidehtal financial losses, including without limitation, loss of salary
         2    and benefits, and the intangible loss of employinent related opportunities in her field and damage
         3    to her professional reputation, all in an amount subject to proof at the time of trial. Plaintiff
         4    claims such amounts as damages pursuant to California Government Code § 3287 and/or § 3288
         5    and/or any other provision of law providing for prejudgment interest.

         6           42.   As a proximate result of the wrongful acts of Defendants, Plaintiff has suffered and

         7    continues to suffer emotional distress, humiliation, mental anguish and embarrassment, as well
         8 I I as the manifestation of physical symptoms. Plaintiff is informed and believes and thereupon

         9    alleges that she will continue to experience said physical and emotional suffering for a period in

        10    the fiiture not presently ascertainable, all in an amount subject to proof at the time of trial.

        11           43.   As a proximate result of the wrongful acts of Defendants, Plaintiff has been forced

~ W     12 I I to hire attorneys to prosecute her claims herein and has incurred and is expected to continue to
~ _J
U Q     13    incur attorneys' fees and costs in connection therewith. Plaintiff is entitled to recover attorneys'
  N
0 z     14    fees and costs under California Goverriment Code § 12965(b).
r)-0
pp (D   15           44.   The actions taken against Plaintiff were carried out and ratified by officers and

        16    managers of Defendants. In addition, Defendant had in place policies and procedures that
        17    specifically prohibited retaliation and required Defendant's managers, officers, and agents to

        18    prevent retaliation. However, Defendants chose to consciously and willfully ignore said policies

        19    and procedures and therefore, their outrageous conduct was fraudulent, malicious, oppressive,

        20    and was done in wanton disregard for the riglits of Plaintiff and the rights and duties owed by

        21    each Defendant to Plaintiff. Each Defendant aided, abetted, participated in, authorized, ratified,
        22    and/or conspired to engage in the wrongful conduct alleged above. Plaintiff should, therefore, be

        23    awarded exemplary and punitive damages against each Defendant in an amount to be established
        24    that is appropriate to punish each Defendant and deter others from engaging in such conduct in

        25 the future.
        26
        27
        28
                                                                 8
                                                   COMPLAINT FOR DAMAGES
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~               ~    1                                     •FIFTH CAUSE OF ACTION
                     2                      FAILURE TO PREVENT IN VIOLATION OF THE FEHA
                     3                                      (Against ALL Defendants)
                     4         45.   Plaintiff restates and incorporates by this reference as if fully set forth herein
                     5   paragraphs 1 through 44 of this Complaint.

                     6         46.   At all times mentioned herein, California Government Code Sections 12940, et seq.,
                     7   including but not limited to Sections 12940 (j) and (k), were in full force and effect and were
                     8   binding upon Defendants and each of them. These sections impose on an employer a duty to
                     9   take immediate and appropriate corrective action to end discrimination and retaliation and take
                    10   all reasonable steps necessary to prevent discrimination and retaliation from occurring.
                    11         47•   Defendants failed to take immediate and appropriate corrective action to end the
    cZ5 w           12   discrimination and retaliation.
    ~       J
    U Q             13         48•    In failing and/or refusing to take immediate and appropriate corrective action to end
      fV
    0 Z             14   the harassment, discrimination and retaliation, and in failing and/or refusing to take and or all
    =O
    pp (D           15   reasonable steps necessary to prevent discrimination and retaliation from occurring, Defendants
        ~
        N           16   violated California Government Code § 12940 (j) and (k), causing Plaintiff to suffer damages as
                    17   set forth above.
                    18         49.   As a proximate result of the aforesaid acts of Defendants, and each of them, Plaintiff
                    19   has suffered actual, consequential, and incidental financial losses, including without limitation,

                    20   loss of salary and benefits, and the intangible loss of employment related opportunities in her

                    21   field and damage to her professional reputation, all in an amount subject to proof at the time of
                    22   trial. Plaintiff claims such amounts as damages pursuant to Civil Code § 3287 and/or § 3288
                    23   and/or any other provision of law providing for prejudgment interest.

                    24         50.   As a proximate result of the wrongful acts of Defendants, and each of them, Plaintiff
                    25   has suffered and continues to suffer emotional distress, humiliation, mental anguish and
                    26   embarrassment, as well as the manifestation of physical symptoms. Plaintiff is informed and
                    27   believes and thereupon alleges that she will continue to experience said physical and emotional
                    28   suffering for a period in the future not presently ascertainable, all in an amount subject to proof
                                                                          9
                                                                          FOR DAMAGES
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          1 I at the time of trial.
          2          51.    As a proximate result of the wrongful acts of Defendants, Plaintiff has been forced
          3 I to hire attorneys to prosecute her claims herein and has incurred and is expected to continue to
          4 I incur attorneys' fees and costs in connection therewith. Plaintiff is entitled to recover attorneys'

          5   fees and costs under California Government Code § 12965(b).

          6          52.    The actions taken against Plaintiff were carried out and ratified by officers and

          7   managers of Defendants. In addition, Defendant had in place policies and procedures to prevent

          8   discrimination and retaliation. However, Defendants chose to consciously and willfully ignore

          9   .said policies and procedures and therefore, their outrageous conduct was fraudulent, malicious,

         10   oppressive, and was done in wanton disregard for the rights of Plaintiff and the rights and duties
         11   owed by each Defendant to Plaintiff. Each Defendant aided, abetted, participated in, authorized,

 c6 W    12   ratified, and/or conspired to engage in the wrongful conduct alleged above. Plaintiff should,
 ~J
 U Q 13       therefore, be awarded exemplary and punitive damages against each Defendant in an amount to
   fV
 0Z      14   be established that is appropriate to punish each Defendant and deter others from engaging in
 rrO
 pp (D   15   such conduct in the future.

         16                                      SIXTH CAUSE OF ACTION
         17                WRONGFUL TERMINATION IN VIOLATION OF PUBLIC POLICY
         18                                        (Against ALL Defendants)
         19          53.    Plaintiff restates and incorporates by this reference as if fully set forth herein
         20   paragraphs 1 through 52 of this Complaint.

         21          54.    The FEHA reflects public policies of the State of California, which are designed to
         22   protect all employees and to promote the welfare and well-being of the community at large.

         23   Accordingly, the actions of Defendants, and each of them, in terminating Plaintiff on the grounds

         24   alleged and described herein were wrongful and in contravention of the express public policy of

         25   the State of California and the laws and regulations promulgated thereunder.
         26          55.    As a proximate result of the aforesaid acts of Defendants, and each of them, Plaintiff
         27   has suffered actual, consequential, and incidental financial losses, including without limitation,
         28   loss of salary and benefits, and the intangible loss of employment related opportunities in her
                                                                 10
                                                   COMPLAINT FOR DAMAGES
Case 8:22-cv-01076-ADS Document 1-2 Filed 05/31/22 Page 12 of 18 Page ID #:24




         1   field and damage to her professional reputation, all in an amount subject to proof at the time of
         2   trial. Plaintiff claims such amounts as damages pursuant to Civil Code § 3287 and/or § 3288
         3   and/or any other provision of law providing for prejudgment interest.
         4          56.    The actions taken against Plaintiff were carried out and ratified by officers and
         5   managers of Defendants. In addition, Defendant had in place policies and procedures that

         6   specifically prohibited discrimination and retaliation based on a disability and required

         7   Defendant's managers, officers, and agents to prevent discrimination and retaliation against and
         8   upon employees of Defendant. However, Defendants chose to consciously and willfully ignore

         9   said policies and procedures and therefore, their outrageous conduct was fraudulent, malicious,

        10   oppressive, and was done in wanton disregard for the rights of Plaintiff and the rights and duties

        I1   owed by each Defendant to Plaintiff. Each Defendant aided, abetted, participated in, authorized,

        12   ratified, and/or conspired to engage in the wrongful conduct alleged above. Plaintiff should,
        13   therefore, be awarded exemplary and punitive damages against each Defendant in an amount to
        14   be established that is appropriate to punish each Defendant and deter others from engaging in
        15   such conduct in the future.

        16

        17          WHEREFORE, Plaintiff prays for judgment as follows:

        18                1. For general damages in an amount within the jurisdictional limits of this Court;

        19                2. For special damages, according to proof;
       20                 3. For punitive damages;
       21                 4. For medical expenses and related items of expense, according to proof;
       22                 5. For loss of earnings, according to proof;
       23                 6. For attorney's fees, according to proof;

       24                 7. For prejudgment interest, according to proof;

       25       '         8. For costs of suit incurred herein;
       26                 9. For declaratory relief;
       27                 10. For injunctive relief; and
       28                 11. For such other relief and the Court may deem just and proper.
                                                                  11
                                                  COMPLAINT FOIt DAMAGES
Case 8:22-cv-01076-ADS Document 1-2 Filed 05/31/22 Page 13 of 18 Page ID #:25




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Case 8:22-cv-01076-ADS Document 1-2 Filed 05/31/22 Page 14 of 18 Page ID #:26
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                               u    -    Yd"J =srSt ~"e' vWft35H YAMASAKI, Clerk of the Court By Kati&To®jatp&eajety Clerk. .
 Brock & Gonzales LLP, 6701 Center Drive West, Ste. 610, Los Angeles, CA 90045

            TELEPHONE NO.: (310) 294-9595                FAx No. (optionaq: (310) 961-3673
            E-MAIL ADDRESS:
      ATTORNEY FOR (Name): Plalntlff,   Banafsheh Soleimani
 SUPERIOR COURT OF CALIFORNIA, COUNTY OF ORANGE
  STREETADDREss: 700 CIVIC CENTER DRIVE WEST
  MAILINGADDREss: 700 CIVIC CENTER DRIVE WEST
 cITY AND zIP coDE: SANTA ANA, CA 92701
       BRANCH NAME: Central JUstICe Center

 CASE NAME:
  Banafsheh Soleimani v. B. Braun Medical Inc.
           CIVIL CASE COVER SHEET                                                        CASE NUMBER:
                                                    Complex Case Designation
 ®         Unlimited        0  Limited           0      counter         0.loinder           30-2022-0125525$-CU1'/rr-CJC
           (Amount             (Amount
                                                Filed with first appearance by defendant JUDGE:
           demanded            demanded is                                                       }Fud e ames Crandell
                                                    (Cal. Rules of Court, rule 3.402)     DEPT.: "   ~ ~
           exceeds $25,000)   .$25,000 or less)
                                 Items 1-6 below must be completed (see instructions on page 2).
 1. Check one box below for the case type that best describes this case:
       Auto Tort                                          Contract                                    Provisionally Complex Civil Litigation
       =       Auto (22)                                  0     Breach of contracUwarranty (06)       (Cal. Rules of Court, rules 3.400-3.403)
       0     Uninsured motorist (46)                      0     Rule 3.740 collections (09)           0      Antitrust/Trade regulation (03)
       Other PI/PD/WD (Personal Injury/Property           0     Other collections (09)                0      Construction defect (10)
       Damage/Wrongful Death) Tort                                                                           Mass tort (40)
                                                          0     Insurance coverage (18)               0
       ~       Asbestos (04)                              ~                                           0      Securities litigation (28)
                                                                Other contract (37)
       ~       Product liability (24)                                                                       Environmental/Toxic tort (30)
                                                          Real Property
       0       Medical malpractice (45)                   ~                                                 Insurance coverage claims arising from the
                                                                Eminent domain/Inverse
       0       Other PI/PD/WD (23)                                                                          above listed provisionally complex case
                                                                condemnation (14)
                                                                                                            types (41)
       Non-PI/PDIWD (Other) Tort                          0     Wrongful eviction (33)                Enforcement of Judgment
       0       Business tort/unfair business practice (07) 0    Other real property (26)              0     Enforcement of judgment (20)
               Civil rights ()
                             08                            Unlawful Detainer
       0                                                                                              Miscellaneous Civil Complaint
       0       Defamation (13)                                  Commercial (31)                       ~     RICO (27)
       0       Fraud (16)                                       Residential (32)
                                                                                                      0     Other complaint (not specified above) (42)
       0       Intellectual property (19)                 ~     Drug()
                                                                     s 38
                                                                                                      Miscellaneous Civil Petition
       0       Professional negligence (25)               Judicial Review
                                                                Asset forfeiture (05)                 0      Partnership and corporate governance (21)
       0    Other non-PI/PDM/D tort (35)                  0
       Employment                                         0     Petition re: arbitration award (11)   0      Other petition (not speciried above) (43)

       Ox      Wrongful termination (36)                  0     Writ of mandate (02)
       0       Other employment (15)                            Other judicial review (39)
 2.  This case 0       is     ®     is not   complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
     factors requiring exceptional judicial management:
    a. 0      Large number of separately represented parties       d. 0      Large number of witnesses
    b. 0      Extensive motion practice raising difficult or novel e. 0      Coordination with related actions pending in one or more
              issues that will be time-consuming to resolve                  courts in other counties, states, or countries, or in a federal
    c. 0      Substantial amount of documentary evidence                     court
                                                                   f.        Substantial postjudgment judicial supervision
 3. Remedies sought (check all that apply): a. ®        monetary b. ®     nonmonetary; declaratory or injunctive relief c. ®        punitive
 4. Number of causes of action (specify): 6
 5. This case =        is     ~x is not      a class action suit.
 6. If there are any known related cases, file and serve a notice of related case. (You                   usefor~           015.)
 Date: 04/18/2022                                                                    ~
 D. Aaron Brock                                                                       ~
                                   OR PRINT


  • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
    under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to flle may result
    in sanctions.
  • File this cover sheet in addition to any cover sheet required by local court rule.
  • If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
    other parties to the action or proceeding.
  • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.
                                                                                                                                                             Page 1 of 2
 Fonn Adopted for Mandatory Use                                                                                Cal. Rules of Court, rules 2.30, 3.220, 3.400-3.403, 3.740;
   Judicial Council of Califomia                              CIVIL CASE COVER SHEET                                   Cal. Standards of Judicial Administration, std. 3.10
Case 8:22-cv-01076-ADS Document 1-2 Filed 05/31/22 Page 15 of 18 Page ID #:27

                             INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET                                                             CM-010
 To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
 complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
 statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
 one box for the case type that best describes t'he case. If the case fits both a general and a more specific type of case listed in item 1,
 check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
 To assist you in completing the sheet, examples of the cases that lielong under each case type in item 1 are provided below. A cover
 sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
 its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
 To Parties in Rule 3.740 Collections Cases. A"collections case" under rule 3.740 is defined as an action for recovery of money owed
 in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in which
 property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
 damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
 attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
 time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
 case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
 To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
 case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
 completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
 complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
 plaintiffs designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a.designation that
 the case is complex.                                     CASE TYPES AND EXAMPLES
   Auto Tort                                      Contract                                          Provisionally Complex Civil Litigation (Cal.
     Auto (22)-Personal Injury/Property               Breach of ContractMlarranty (06)              Rules of Court Rules 3.400-3.403)
           DamagelWrongful Death                         Breach of Rental/Lease                          Antitrust/Trade Regulation (03)
        Uninsured Motorist (46) (if the                      Contract (not unawueane
                                                                             l fld t i r                 Construction Defect (10)
        case involves an uninsured                                 or wrongfu! eviction)                  Claims Involving Mass Tort (40)
        motorist claim subject to                         Contract/Warranty Breach—Seller                 Securities Litigation (28)
        arbitration, check this item                           Plaintiff (not fraud or negligence)        EnvironmentallToxic Tort (30)
        instead ofAuto)                                   Negligent Breach of Contract/                   Insurance Coverage Claims
  Other PI/PDlWD (Personal Injury/                             Warranty                                         (arising from provisionally complex
  Property DamagelWrongful Death)                         Other Breach of ContracUWarranty                      case type listed above) (41)
  Tort                                                Collections (e.g., money owed, open            Enforcement of Judgment
      Asbestos (04)                                       book accounts) (09)                          Enforcement of Judgment (20)
         Asbestos Property Damage                         Collection Case—Seller Plaintiff                 Abstract of Judgment (Out of
         Asbestos Personal Injury/                        Other Promissory Note/Collections                      County)
               Wrongful Death                                  Case                                    Confession of Judgment (non- -
      Product Liability (not asbestos or              Insurance Coverage (not provisionally                  domestic relations)
          toxic%nvironmental) (24)                        complex) (18)                                Sister State Judgment
      Medical Malpractice (45)                            Auto Subrogation                             Administrative Agency Award
           Medical Malpractice—                           Other Coverage                                    (not unpaid taxes)
                Physicians & Surgeons                 Other Contract (37)                               Petition/Certification of Entry of
      Other Professional Health Care                      Contractual Fraud                                  Judgment on Unpaid Taxes
              Malpractice                                 Other Contract Dispute                        Other Enforcement of Judgment
      Other PIIPD/WD (23)                          Real Propery t                                             Case
           Premises Liability (e.g., slip             Eminent Domain/Inverse                         Miscellaneous Civil Complaint
                and fall)                                 Condemnation (14)                             RICO (27)
           Intentional Bodily Injury/PD/WD            Wrongful Eviction (33)                            Other Complaint (not specified
                 (e.g., assault, vandalism)           Other Real Property (e.g., quiet title) (26)            above) (42)
           Intentional Infliction of                      Writ of Possession of Real Property                Declaratory Relief Only
                Emotional Distress                        Mortgage Foreclosure                               Injunctive Relief Only (non-
           Negligent Infliction of                        Quiet Title                                              harassment)
                 Emotional Distress                       Other Real Property (not eminent                   Mechanics Lien
           Other PI/PD/WD                                 domain, landlord/tenant, or                         Other Commercial Complaint
  Non-PI/PDIWD (Other) Tort                               foreclosure)                                             Case (non-torUnon-complex)
      Business Tort/Unfair Business                Unlawful Detainer                                          Other Civil Complaint
          Practice (07)                               Commercial (31)                                              (non-tort/non-complex)
      Civil Rights (e.g., discrimination,             Residential (32)                               Miscellaneous Civil Petition
            false arrest) (not civil                  Drugs (38) (if the case involves illegal          Partnership and Corporate
            harassment) (08)                          drugs, check this item; otherwise,                     Govemance (21)
      Defamation (e.g., slander, libel)               report as Commercial or Residential)              Other Petition (not speciried
             (13)                                  Judicial Review                                           above) (43)
      Fraud (16)                                      Asset Forfeiture (05)                                  Civil Harassment
      Intellectual Property (19)                      Petition Re: Arbitration Award (11)                    Workp[ace Violence
      Professional Negligence (25)                    Writ of Manae
                                                                  d t ()  02                                 Elder/DependentAdult
          Legal Malpractice                               Writ—Administrative Mandamus                            Abuse
          Other Professional Malpractice                  Writ—Mandamus on Limited Court                     Election Contest
               (not medical or legal)                         Case Matter                                    Petition for Name Change
      Other Non-PI/PD/WD Tort (35)                        Wr—er
                                                             it Oth Limeourtit d C     Case                  Petition for Relief From Late
  Employment                                                 Review                                               Claim
      Wrongful Termination (36)                       Other Judicial Review (39)                             Other Civil Petition
      Other Employment (15)                               Review of Health Officer Order
                                                          Notice of Appeal—Labor
                                                                Commissioner Appea[s
 CM-010 [Rev. September 1, 2021]
                                                            CIVIL CASE COVER SHEET                                                           Page 2 of 2
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Case 8:22-cv-01076-ADS Document 1-2 Filed 05/31/22 Page 16 of 18 Page ID #:28



SUPERIOR COURT OF CALIFORNIA, COUNTY OF ORANGE                                                            FOR COURT USE ONE Y
STREET ADDRESS: 700 W. Civic Center DRIVE                                                                    ~ I~C        ~
MAILING ADDRESS:. 700 W. Civlc Center Drive
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CITY AND ZIP CODE: Santa Ana 92701                                                                         COUMYOFORANGE
BRANCH NAME: CentraFaustice Center
PLANTIFF: Banafsheh.So(eimani
                                                                                                          Apr 18, 2022
DEFENDANT: B. Braun Medlcal Inc.
                                                                                                             Clerk a tne court
ShortTitle: SOLEIMANI VS. B. BRAUN MEDICAL INC.                                                           By: KatieTreM, Deputy




                                                                                                CASE NUMBER:
                                NOTICE OF HEARING                                               30-2022-01255258-CU-WT-CJC
                      CASE MANAGEMENT CONFERENCE


  Please take notice that a(n), Case Manaqement Conference has been scheduled for hearing
  on 10/11/2022 at 09:00:00 AM in Department C33 of this court, located at Central Justice
  Center.


  Plaintiff(s)/Petitioner(s) to provide notice to all defendant(s)lrespondent(s). Parties who file pleadings
  that add new parties to the proceeding must provide notice of the Case Management Conference to the
  newly added parties.



  LNLPORTA-\T: Prior to t-our hearinQ date; please check the Court's website for the most current instructions
  regardiiig hott to appear for rour hearine and aceess 5en, ice.s that are available to answer your questions.
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  responder a sus przguntas.
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                                              Clerk of the Court, By:             ~     /Le'f                                     , Deputy

                                                     NOTICE OF HEARING                                                             Pe9e:'.




                                                                                                                                   253.615070. 2 of 3
        Case 8:22-cv-01076-ADS Document 1-2 Filed 05/31/22 Page 17 of 18 Page ID #:29




          SUPERIOR COURT OF CALIFORNIA, COUNTY OFORANGE
          Central Justice Center
          700 W. Civic Center DRIVE
          Santa Ana 92701

          SHORT TITLE: SOLEIMANI VS. B. BRAUN MEDICAL INC.


I~=~                                                                                                  CASE NUMBER:
                   CLERK'S CERTIFICATE OF SE62VICE BY MAIL
                                                                                             30-2022-01255258-CU-WT-CJC

            I certify that I am not a party to this cause. 1 certify that a true copy of the above Notice of Hearing has been
            placed for collection and mailing so as to cause it to be mailed in a sealed envelope with postage fully prepaid
            pursuant to standard court pracfices and addressed as indicated below. The certification occurred at Santa Ana,
            California, on 04118/2022. Following standard court practice the mailing will occur at Sacramento, California on
            04/19/2022.



                                                  Clerk of the Court; by:                                                         , Deputy
           BROCK & GONZALES, LLP
           6701 CENTER DRIVE WEST # 610
           LOS ANGELES, CA 90045




                                                                                                                                         Page: 2
                                             CLERR'S CERTIFICATE OF SERVICE BY MAIL
       V31013a (June 2004)                                                                                     Code'of Civil Prooedure , § CCP1073(a)




                                                                                                                                  253.615070. 3 of 3
    Case 8:22-cv-01076-ADS Document 1-2 Filed 05/31/22 Page 18 of 18 Page ID #:30



    SUPERIOR COURT OF CALIFORNIA
    ORANGE COUNTY
    700 W. CIVIC CENTER DRIVE
    SANTA ANA, CA 92701




       253.CRT30.615070.S1
~      BROCK & GONZALES, LLP
       6701 CENTER DRIVE WEST # 610
       LOS ANGELES, CA 90045




                                                                            253.615070. 1 of 3
